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                           UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NEW YORK

                                                    )
DARRYL BOYD,                                        )
                                                    )
                                   Plaintiff,       )     Case No. 1:22-cv-519
                                                    )
                   - against -                      )
                                                    )     NOTICE OF MOTION FOR
THE COUNTY OF ERIE,                                 )     SUBSTITUTION OF PLAINTIFF
                                                    )
                                   Defendant.       )

       Please take notice of this motion to substitute Kathleen Weppner, as Executor of the Estate

of Darryl Boyd, as Plaintiff in this action.

       Request for Relief: Kathleen Weppner, by her counsel Law Offices of Joel B. Rudin, P.C.,

WilmerHale LLP, and Hoover & Durland LLP, requests that this Court grant this Motion and

substitute Kathleen Weppner, as Executor of the Estate of Darryl Boyd, as Plaintiff.

       Grounds for Relief and Supporting Papers. The grounds for Ms. Weppner’s request are

set forth in the supporting memorandum, declaration, and exhibits contemporaneously filed with

this Motion.

       Opposition Papers, Reply Papers, and Oral Argument. The opposition shall be due on

a date and time set by the Court. Plaintiff reserves the right to submit reply papers if necessary

and permitted by the Court. Oral argument, if necessary, will be heard at the United States District

Court for the Western District of New York, 100 State Street, Rochester, New York 14614, on a

date and time set by the Court.




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Dated:     April 11, 2025         Respectfully submitted,

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                                  Estate of Darryl Boyd




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